         Case 1:23-cv-00509-GLR Document 19 Filed 09/14/23 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                             FOR DISTRICT OF MARYLAND
                                   Northern Division

 Oluwakemi Adewol, on behalf of herself          )
 and all others similarly situated,              )
                                                 )       Case No.: 1:23-CV-00509-GLR
                              Plaintiff,         )
                                                 )      APPROVED this 14th day of September,
        v.                                       )      2023. Plaintiff is directed to file their
                                                 )      Opposition to Defendant's Motion to
 TGINESIS LLC.,                                  )      dismiss on or before October 30, 2023.
                                                 )      Defendant is directed to file their Reply in
                                                 )      support of their Motion to dismiss on or
                              Defendant.         )
                                                        before November 20, 2023.



                                           STIPULATION

       It is hereby stipulated and agreed, by and between the parties, by and through their

undersigned counsel, to the following briefing schedule on Defendant TGINESIS LLC’s

forthcoming Motion to Dismiss Plaintiff’s Amended Complaint:

       Defendant TGINESIS LLC’s Motion to Dismiss Plaintiff’s Amended Complaint is due on

October 2, 2023.

       Plaintiff’s Opposition to Defendant’s Motion to Dismiss is due on October 30, 2023.

       Defendant’s Reply in Support of its Motion to Dismiss is due on November 20, 2023.



Dated: Sept. 13, 2023                                Respectfully submitted,


 /s/ Steffan T. Keeton                                /s/ Heather A. Rice
 Steffan T. Keeton, Esq.                              Heather A. Rice (#19584)
 100 S. Commons Ste 102                               FRANKLIN & PROKOPIK P.C.
 Pittsburgh, PA 15212                                 2 N. Charles Street, Suite 600
 Tel: (888) 412-5291                                  Baltimore, MD 21201
 stkeeton@keetonfirm.com                              Tel: (410) 230-3617
 Counsel for Plaintiff and the Proposed Class         hrice@fandpnet.com
